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  8                       UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
  9
  10 ISABELLA BATISTA                           Case No. 2:20−cv−10737−DMG−E
  11                 Plaintiff(s),              SCHEDULING MEETING OF
                                                COUNSEL
  12         v.                                 [Fed. R. Civ. P. 16, 26(f)]
  13 IRWIN NATURALS                             SCHEDULING CONFERENCE
  14                                            set for
                                                December 3, 2021 at 09:30 AM
  15                                            [Fed. R. Civ. P.16]
                    Defendant(s).
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  18
  19         This case has been assigned to the calendar of United States District Judge
  20   Dolly M. Gee. The responsibility for the progress of litigation in the federal courts
  21   falls not only upon the attorneys in the action, but upon the court as well.
  22         In order “to secure the just, speedy, and inexpensive determination of every
  23   action,” (Fed. R. Civ. P. 1), all counsel are hereby ordered to familiarize
  24   themselves with the Federal Rules of Civil Procedure and the Local Rules of the
  25   Central District of California.
  26   ///
  27   ///
  28   ///

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  1           A Scheduling Conference is set for the date and time set forth in the

  2     caption.¹ Counsel shall meet at least twenty-one (21) days in advance of the

  3     Scheduling Conference to prepare a jointly signed report for the court to be

  4     submitted no less than fourteen (14) days before the Scheduling Conference. The

  5     report is to contain the items set forth below. Pursuant to Fed. R. Civ. P. 16(c),

  6     the parties shall be represented by counsel with authority to enter into stipulations

  7     regarding all matters pertaining to conduct of the case.

  8           The joint report to be submitted shall contain the items listed in Fed. R. Civ.

  9     P. 26(f), the parties’ recommendations and agreements, if any, about the final

  10    scheduling order as listed in Fed. R. Civ. P. 16(b)(1) through (6), and those items

  11    listed in Fed. R. Civ. P. 16(c) which counsel believe will be useful to discuss at

  12    the Scheduling Conference. Items which must be addressed are the following:

  13                        (1)    initial disclosures, preservation of
                                   discoverable informaion, and a discovery
  14                               plan, including a listing and proposed
                                   schedule of written discovery, depositions,
  15                               and a proposed discovery cut-off date;
  16                        (2)    a listing and proposed schedule of law and
                                   motion matters, and a proposed dispositive
  17                               motion cut-off date;
  18                        (3)     a statement of what efforts have been made
                                   to settle or resolve the case to date and what
  19                               settlement procedure is recommended
                                   pursuant to Local Rule 16-15.4 (specifically
  20                               excluding any statement of the terms
                                   discussed);
  21
                            (4)     an estimated length of trial and a proposed
  22                               date for the final pretrial conference and for
                                   trial;
  23
                            (5)    a discussion of other parties likely to be
  24                               added;
  25
  26       ¹ Unless there is a likelihood that upon motion by a party the Court would order that any or
     all discovery is premature, it is advisable for counsel to begin to conduct discovery actively before
  27 the Scheduling Conference required by Fed. R. Civ. P. 16(b). At the very least, the parties shall
     comply fully with the letter and spirit of Fed. R. Civ. P. 26(a) and thereby obtain and produce most
  28 of what would be produced in the early stage of discovery, because at the Scheduling Conference
     the Court will impose tight deadlines to complete discovery.


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  1                        (6)    whether a trial will be by jury or to the court;

  2                        (7)    any other issues affecting the status or
                                  management of the case; and
  3
                           (8)    proposals regarding severance, bifurcation or
  4                               other ordering proof.
  5           In addition, the Scheduling Conference Report shall contain the following:
  6                        (1)     a short synopsis of the principal issues in
                                  the case;
  7
                           (2)     a statement of whether pleadings are likely
  8                               to be amended;
  9                        (3)    a statement as to issues which any party
                                  believes may be determined by motion; and
  10
                           (4)     a statement as to whether the parties consent to a mutually
  11                              agreeable Magistrate Judge from the Court’s Voluntary
                                  Consent List (available on the Court’s website) to preside over
  12                              this action for all purposes, including trial.
  13          At the Scheduling Conference, the court will set a date for discovery cut-
  14    off,² a final date by which motions must be filed and served, a final pretrial
  15    conference date, and a trial date.
  16          To facilitate the scheduling process, counsel shall complete the Schedule
  17    of Pretrial and Trial Dates form attached as Exhibit A to this Order and
  18    attach it to the Joint Rule 26(f) Report. The Court urges the parties to make
  19    every effort to agree upon joint dates and deadlines. The entries in the “Time
  20    Computation” column reflect what the Court believes are appropriate for most
  21    cases and will allow the Court to rule on potentially dispositive motions
  22    sufficiently in advance of the final pretrial conference. The form is designed to
  23    enable counsel to ask the Court to set different (earlier) last dates by which the key
  24    requirements must be completed.
  25
  26       ² This is not the date by which discovery requests must be served; but the date by which all
     discovery is to be completed. Any motion challenging the adequacy of discovery responses must be
  27 filed timely, served and calendared sufficiently in advance of the discovery cut-off date to permit
     the responses to be obtained before that date, if the motion is granted. The Court requires
     compliance with Local Rule 37-1 and 37-2 in the preparation and filing of discovery motions.
  28 Except in the case of an extreme emergency which was not created by the lawyer bringing the
     motion, discovery motions may not be heard on an ex parte basis.

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  1         A continuance of the Scheduling Conference will be granted only for good

  2    cause. The failure to submit a joint report in advance of the Scheduling

  3    Conference or the failure to attend the Scheduling Conference may result in

  4    the dismissal of the action, striking the answer and entering a default, and/or

  5    the imposition of sanctions.

  6         An alternative dispute resolution (ADR) procedure appropriate to the

  7    particular case will be used in every civil action pursuant to Local Rule 16-15.1.

  8    In the Scheduling Conference Report, counsel are to recommend a specific ADR

  9    procedure provided for in Local Rule 16-15 which will be utilized in this case.

  10   See L.R. 26-1(c). If counsel have received a Notice to Parties of Court-Directed

  11   ADR Program (ADR-08), the case will be presumptively referred to the Court

  12   Mediation Panel or to private mediation. See General Order 11-10, § 5.1.

  13   Nonetheless, available alternatives for consideration, not to the exclusion of

  14   others, include:

  15                      (1)   a settlement conference before the
                                magistrate or district judge assigned to this
  16                            case (Local Rule 16-15.4(1));

  17                      (2)    appearance before an attorney selected from
                                the Attorney Settlement Officer Panel (Local
  18                            Rule 16-15.4(2));
  19                      (3)   appearance before a retired judicial officer
                                or other private or non-profit dispute
  20                            resolution body for non-judicial settlement
                                or mediation proceedings (Local Rule 16-
  21                            15.4(3));
  22                      (4)   such other settlement mechanism proposed
                                by the parties and approved by the court.
  23
            The report to the court as to the above items should be preceded by a
  24
  25   thorough and frank discussion among the attorneys for the parties. A Joint

  26   Scheduling Report which does not comply with Fed. R. Civ. P. 16, 26(f), and this

  27   Order may cause continuance of the Scheduling Conference and a possible award

  28   of sanctions under Rule 16(f) against the party or parties responsible.


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  1          Counsel for plaintiff shall immediately serve this Order on all parties,

  2     including any new parties to the action.

  3          The Court appreciates Counsel’s anticipated cooperation and compliance

  4     with this Order.

  5
           IT IS SO ORDERED.
  6
  7    DATED: October 19, 2021

  8                                                      DOLLY M. GEE
                                                   UNITED STATES DISTRICT JUDGE
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       Judge Dolly M. Gee
  2    SCHEDULE OF PRETRIAL & TRIAL DATES WORKSHEET
  3    Case No.                                 Case

  4                ____________________ Name: _____________________________
                            MATTER                          JOINT REQUESTED DATE              TIME
  5                                                       or PLNTF/DEFT REQUESTED
                                                                    DATE
  6    TRIAL [ ] Court      [ ] Jury                                                         8:30 a.m.

  7    Duration Estimate:                                              (Tuesday)3
       FINAL PRETRIAL CONFERENCE (“FPTC”)                                                    2:00 p.m.
  8    4 wks before trial                                              (Tuesday)
  9                                                                                   JOINT
                      MATTER                      TIME COMPUTATION              REQUESTED DATE
  10                                                                             or PLNTF/DEFT
                                                                                REQUESTED DATE
  11   Amended Pleadings and Addition of        90 days after scheduling conf
       Parties Cut-Off (includes hearing of
       motions to amend)
  12
       Non−Expert Discovery Cut-Off            at least 14 wks before FPTC
  13   (includes hearing of discovery motions)

  14   Motion Cut-Off (filing deadline)         at least 13 wks before FPTC

  15   Initial Expert Disclosure & Report       at least 9 wks before FPTC
       Deadline
  16
       Rebuttal Expert Disclosure & Report      at least 5 wks before FPTC
  17   Deadline

  18   Expert Discovery Cut-Off (includes       at least 3 wks before FPTC
       hearing of discovery motions)
  19
       Settlement Conference Completion Date at least 4 wks before FPTC
  20
  21   Motions in Limine Filing Deadline        at least 3 wks before FPTC

  22   Opposition to Motion in Limine Filing    at least 2 wks before FPTC
       Deadline
  23
       Other Dates: (e.g., class cert motion
  24   cut-off, early mediation, etc.)

  25
  26                                           EXHIBIT A

  27
  28     ³   Trials commence on Tuesdays. Final pretrial conferences are held on Tuesdays.


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